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                     EXHIBIT 1
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                               UNITED STATES DISTRICT COURT

                               EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL BY THE OIL RIG                                 MDL 2179
“DEEPWATER HORIZON” iN THE                                      SECTION: “J”
GULF OF MEXICO, ON APRIL 20, 2010                               JUDGE BARBIER
                                                                MAG. JUDGE SHUSHAN
This Document Applies to:

No. 12-970, Bon Secour Fisheries, Inc., et al.
v. BP Exploration & Production Inc., et al.


                             DECLARATION OF JEFFREY D. CAHILL

STATE OF FLORIDA

COUNTY OF COLLIER

         I, Jeffrey D. Cahill, declare pursuant to the provisions of 28 U.S.C. § 1746:

          1.    1am of the hill age of majority and make the statements in this Declaration based

                on my own personal knowledge.

         2.     1 am an Attorney and Certified Public Accountant (not presently Licensed).

         3.     I began working with Glen Lerner & Associates in 2007 as part of a management

                contract but was appointed the Chief Financial Officer of Glen Lerner &

                Associates on January 1, 2013

         4.     My duties include accounting for Mr. Lerner’s personal investments and business

                interests.

         5.     Glen J. Lerner owns 50% of Andry Lerner, LLC.

         6.     As CFO of Glen J. Lerner & Associates, I accounted for all funds paid by Andry

                Lerner, LLC to Glen J. Lemer & Associates.




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         7.    Beginning in early 2012, I assumed the role of CFO for Crown, LLC. Mr. Lerner

               has personally invested funds in Crown, LLC and is the primary investor of

               Crown, LLC.

         8.    Prior to January 1, 2012, funds for Crown, LLC were deposited to an account at

               Regions Bank in Louisiana that Lionel Sutton would use to pay Crown’s bills. It

               is my understanding Mr. Sutton is the only signator on Crown, LLC’s bank

               account at Regions Bank.

        9.     In August 2012, 1 opened a new bank account for Crown, LLC at Bank of

               America (“New Crown Account”) that I controlled as the CFO for Crown, LLC.

         10.   1 knew who Lionel “Tiger” Sutton was as a result of my work with Crown, LLC.

                                    FIRST REFERRAL FEE PAYMENT

         11.   (Hen J. Lemer & Associates received check number 1319 from Andry Lerner,

               LLC, made payable to Glen Lerner & Associates, dated December 14, 2012, in

               the amount of $4,940.00. The memo on the check stated, “Casey Thonn VoO

               Charter Payment.”     (Attached as Ex. A)

         12.   The above check was deposited into the Glen Lerner & Associates general bank

               account.

         13.   1 received a series of e —mails, including an e-mail from Lionel “Tiger” Sutton

               dated January 7,2013, advising that the $4,940.00 was his share of the Thonn fee

               and directing that I “please deposit in the Crown account so I can get it.”

               (Attached as Ex. B) I understood that by “the Crown account” Lionel “Tiger”

               Sutton meant the Crown, LLC account at Regions Bank that he controlled

               (hereafter “Old Crown Account”).



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          14.   When r received this e-mail from Lionel “Tiger” Sutton, I did not discuss the

                matter with Glen J. Lerner because he was copied on the e-mail. As directed by

                Mr. Sutton, I wire transferred the $4,940.00 to the Old Crown Account at Regions

                Bank on January 8, 2013. (Attached as Ex. C)

                             SECOND REFERRAL FEE PAYMENT

          15.   Glen J. Lerner & Associates received check number 1308 from Andry Lerner,

                LLC made payable to Glen Lerner & Associates dated March 11, 2013, in the

                amount of$l6,665.21 with the memo “Casey Thonn.” (Attached as Ex, D)

          16.   The above check was deposited in the Glen Lerner & Associates general account.

          17,   In a March 27, 2013 e-mail, Mr. Sutton directed that I deposit the above amount

                in the Old Crown Account.

          18.   On March 28, 2013, Iwired the $16,665.21 from the Glen J. Lerner & Associates

                general bank account to the Old Crown Account at Regions Bank. The wire

                included the reference “Casey Thonn” so I could properly reflect the payment in

                the firm’s books and records. (Attached as Ex. E)

                              TFIIRD REFERRAL FEE PAYMENT

          19.   Glen J. Lemer & Associates received check number 1394 from Andry Lemer,

                LLC made payable to Glen Lerner & Associates dated May 14, 2013, in the

                amount of $19,035.02. The memo on the check stated, “Casey Thonn/Boat

                Captain.” (Attached as Ex. F)

         20.    The above check was deposited into the Glen Lerner & Associates general bank

                account.




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            21.   On June 5, 2013, 1 wired $25,000 from the Glen J. Lerner & Associates account

                  to the New Crown account at Bank of America. (Attached as Ex. G) The $25,000

                  was needed to fund, in part, Crown, LLC’s normal weekly payroll and would

                  allow me to send Mr. Sutton the $19,035.02 referral fee.

           22.    I had created a wire template connected to the New Crown Account with the Old

                  Crown Account as the beneficiary. I was making fairly regular transfers to the

                  Old Crown Account for Mr. Sutton for amounts he was owed by Crown, LLC as

                  an owner or for expense reimbursement. Use of the template meant I only had to

                  fill in the amount of the wire instead of completely fIlling out the beneficiary

                  name, bank ID and account information every time I setup a wire.

           23,    As CFO, I made the decision, without any input from Glen Lerner, to transfer the

                  $19,035.02 from Glen Lerner & Associates to the New Crown Account and then

                  to   the    Old   Crown   Account     at   Regions      Bank       for my   convenience       and    not    for any




                  nefarious purpose.




          24.     1 told investigators      from The Freeh Group that I initiated                     the wires   in   this   manner




                  and   it was done as described above as a convenience
                                                                        to me.




          25.     On June 5, 2013, 1 wired $19,035.02 from the New Crown Account to the Old

                  Crown       Account at    Regions     Bank       with   the    notation   “Casey Thonn.”         (Attached         as




                  Ex. H)




          26.     At    the   time   of   my     interview    by    The    Freeh       Group,     I   provided     them       with    a




                  summary of all payments              made   to   Sutton       in   connection   with    his   investment         with




                  Crown.       (Attached    as   Ex.     (The      Post-It note       was   on the    page   at the    time   it   was




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                reviewed by the investigators). After reviewing Ex. 1, the investigator gave it back

                to me.

          27.   I noted in the books and records of Glen Lerner & Associates that the $4,940,

                $16,665.21 and $19,035.02 sent to Lionel “Tiger” Sutton was for his referral fee

                on the Casey Thonn case.

          28.   Glen Lerner did not direct or ask me to send any of the Thonn referral money to

                Lionel “Tiger” Sutton through either of the Crown accounts.

          29.   I was not trying to hide the payments or launder the money because I was not

                aware of any impropriety and saw no need to do so. I would not have clearly

                labeled each transfer if I was trying to hide or conceal the purpose of the transfer.

          30.   The Freeh Group investigators directed me not to discuss this matter with anyone.

          31.   I declare under penalty of perjury that the foregoing is true and correct.

Executed on this Iday of                               ,   2013.




                                                       JEFFREY D. CAHILL




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                                                                                                     Page 1 o14



    Jeff CahIll

    From:    Sji1or Lionel Ihs3law@hotm&lcen11
    Sent:    Monday, January 07, 2013 10:27 A6
    To:      Jell Cahill; Glen Lorner Etornal.
    Subject; RE:
    Yes That is my share. Please deposit In the crown acct so I can get it

    Lione1 H. SuUoit, III
    935 C3ravie St., Ste. 1910
    New Orleans, LA ‘70112.
    Ofike 504 592 3230
    Ccli 504 957 46&)


    Subject; RE:
    Date: Mon, 7 Jan 2013 08:23:37 -0800
    From: jcahiii@gienlemer.com
    To: gIenierneresq@aoJ.com; lhs3law@hohnall.com
    We rcaived $4,040 at the end ofihe year.


    From: Oiei Ither fmailto:glcnlerneresqaol.coinJ
    Sent: Monday, January 07, 2013 10:13 AM
    To; Sutton Lionel; Jeff Cahill
    Subject Re:
    Jeff, did we receive monies from Andry. II so, Tlger( how much Is your fee?
    On Jah 7, 2013, at 9:138 AM, Sutton Lionel wrote:

          did u check on my fee from casey tlonn. susIe sent it to Jeff mid december.

          Lionel 11. Sutton, 111
          935 Gravier St., Ste. 1910
          New Orleanil, LA 70112
          Offlc 504 592 3230
          Ccli 504 9574689


          From: giefl!JciJJ
          Subject: Re:
                1 4 )n 2013 17:03;14 -0500
          Date: FrI
          To: Ths3Isw@hotmafl.cxjm
          Ok, understood, Need Tin agreement done. They’ve been dragging levi on it since meeting.
          months agog I’m not too crazy about them.
          On Jan 4, 2013, at ‘I40 PM, Sutton Lionel wrote:

                  Some things are worth arguing about and some are not. 8ecue we are friends,




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               Lionci H Sutton, 111
               935 GruvierSt., Ste. 110
               Now Orlenni, LA 701 12
               Ornc, 504 592 3230
               Cull 504 957 4689


               From: alentesgapl.com
               Subject: Re;
               Date: Fri, ‘1 Jan 2013 16:39:40 -0500
               To: lhs3law@hotmalt.com

               mx. U’ you have any Issues with anything I said you should l€t me know. We are still
               friends you know.
               On Jan 4, 2013, at ‘3:02 PM, Sutton Ucincl wrote:

                      1 don’t necessarily agree with all said, but I understand your position. I
                     will work with mike to get It resolved.

                     Lionel 1-I. Sutton, 111
                     935 Gravier St., Ste. 1910
                     Now Orleans, LA 701 12
                     Oflion 504 592 3230:
                     Ccli 504 95 4689

                     > Subject; Re;
                     > From; gn)emer@aoLcin
                     > Date: Fri,4 Jari 2013 15:16:06 -0500
                     > CC: lhs3lawh tmgJJ,scm mbiioi!g,j
                     > To:    h1ll@giferciccom
                     >
                     > Now you can see why i’m a little bitter. Oi1glnl1y you wanted to give
                     me 50% to put up 7G0,00000 for the rnacNne. Then you sold 25% but
                     then I’d have 25% of all other technologl Including beach cleaning. My
                    understanding is we dent even have the rights to that technology.
                    Nevertheless, 1 put up 50% rnure($ 1,121,000) than what.! originally
                    agreed to put up as well as another $575k In salaries and expenses. You
                    may feel that Mike’s s&arl’ Is on no or was premature but I promise you
                    without it we would never be in the position we ore with NAC, NAC has
                    said asmuch and that without rporatc leadership we would have been
                    disreçjardel by their board. i’ve akeii all the risk Tiger. We are close to
                    somethIng here that would never have happened If 1 had not stepped up
                    to the plate, Ve few people hove the balLs 1(10 and put up this ).ype of
                    iiionoy out of their own pocket. i’m blessed I can do it,

                    > The only change to the OperatIng Agreement should be an
                    apportionment of Mike’s five percent (5%) 1 prOmised hIm for leadIng us
                    arid Corey’s (1%) for handling all legal matter as arid agmeernents. That
                    will reduce all of us an additional 15% but I wIll agree that you still
                    retain a vourigmajority in unison although I don’t envision huge
                    discrepancies in the direction of the company. However, I think for us to
                    go in llu correct direction we need to focus on what works, Even once
                    we get this contract we ore still a struggling little crimpany hut we will




   6/24/2013




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                 have cradibUity and we have people aU over the world waiting to see thls
                 contract and for us to get going. We need machines to deploy for tesUrig.
                 In Europe, TN, Mexico arni South America ASAP. We can have a billion
                 dollars worth of contracts In the next twelve months If we play our cards
                 right. Now the hustle begins.
                 > On Jan 4, 2013, at 11:36AM, Jeff Cahill wrote:

                 >> Gentlemen - attached Is a spreadsheet of advances to and
                 payments for
                 > > Crown, LLC.

                 > > The first tab summarizes non-payroll payments from June through.
                 the end
                 > > of October $199,053.21.
                 > > On the second tab the top section shows non-payroll expenses (or
                                               -


                 Jan,
                 > > to May 2012 $128,D’12A6
                                          -

                   > tije next section is payroll amounts (arid a few misc. expense
                 advances)
                 > > through August- $56,493.87
                 > > and the last section shows advances to Crown through the end of
                 October
                 > >$181,500.
                 >>
                 > > Total above is $5S,889.54. A separate tab summarizes amounts
                 paid to
                 > > Proven Technologies (or buildIng the machine- $1,121,000. These
                 > > payments were made from June 2010 through October 2011.
                 >>
                 ‘.> At this time, we have payabl of approximately $48,000 payable
                                                                              -


                 ? > priniadly to Crown Resource Management, LLC and Proven
                 Technologies,
                 >>
                 > > I stopped updating this spreadcheet as of the end of October
                 because I
                 >    am In the process of setting Crown, IJ.C up on Quick8ooks I should
                      -




                 have
                 > > that completely updated by the middle of next week and can then
                 start
                 > > sending out complete tinariclal statements.

                 > > I know early on sonic payments were being made from a Crown,
                 LLC account
                     > setup by Tiger? if L can get copies of those bank statements and
                 > > checks, I can incorporate them Into QuidcBooks to fully account for
                 all•
                 > > the financial activity. And please let inc know f anyone else was
                 > > provldin funding so that can be reflected In the financial
                 statements.
                 >>
                   > If you have any questions, please let me know.
                 >.>
                 >    .   Jeff

                 >>
                 > >             Original Message




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                                From: glen lern [mailto:glenierneresq@aol.com]
                         > > Sent: Friday, January 04, 2013 8:54 AM
                         > ‘ To: Jeff Cahill; Tiger Sutton
                         > > Subject:
                         >>
                            > Please resend to Tiger and 1 ed Crown costs to date, including my
                         buy
                        > > In and all pa’monts to Pro’.ren, Manpower and salaries, 8as!cally
                        every
                        > >Certt I’ve put Into Crown t dto. lie never received it last time
                        >.,
                        >>
                        >>


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Payment DetaHs Report
                                                                                              BankofAmerica r
Company: Gen J LernerA Prolesslonal Corp
Requester: CahiLJeff                                                                          Merrill Lynch
Run Date: 08127/2013 12:44:47 PM POT

 US Account Transfer

                       Status:       Conflrmed by BanK                          Template Name:      Crown, LLC
          Transaction Number:        1300594421661730                           Template Code:      09
  Ob1t Account Information

                      Debit BatR:     22400724
                   Debit Account:     xme.xxX<x3142
            Debit Account Name:       GLEN J LERNER and ASSOCIATES
                  Debit Currency:     USO

 Beneficiary DtaIIs

            Beneficiary Account:      xsxxxxx9152-Crown LLC                    Beneficiary niaII:
                                                                     Beneficiary Mobliu Number:

 Pai,ient 0utalI

                        Currency:    USD                                             Value Date:    06/05)2013
                   Credit Amount:    2500000                                      Transfer Time:     ET

 Optional inlormaton

    Sanders Reference Number;        1360594421661730                   Beneficiary Information:

 Control information

                            input:   JcahlH                                          Input Time:    0610612013 7:44:22AM POT
                       Approved:     JcahIH                                                Time:    06)05)2013 7:46:51 AM POT
             Initial Confirmation:   005:0348800006
                   Confirmation #:   OOS:1 13080509465300




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Jeff Cahill

From:     Sutton Lionel ilhs3law@hotmall.com]
Sent: Thursday, March 07, 2013 11:24 AM
To:       Jeff Cahill
Subject: RE: Salary
Jeff,

Can you let me know when you are going to be able to send the balance owed to me. I expect we will sign
the agreement next week. Also, I saw that Casey Thonn was paid another 166,666 last month. Please let me
know the status of that check.

Lionel H. Sutton, III
935 Gravier St., Ste. 1910
New Orleans, LA 70112
Office 504 592 3230
Cell 504 957 4689



Subject: RE: Salary
Date: Thu, 21 Feb 2013 12:31:19 -0800
From: jcahill@glenterner.com
To: Ihs3law@hotmail.corn; glenlerneresq@aol.com

The 07/19 payment should have been expense reimbursement.

I'll double check and let you know.

Jeffrey Cahill
Cell: 651-983-4794
Office: 702-877-1500



From: Sutton Lionel [mailto:Ihs3law@hotmail.com]
Sent: Thursday, February 21, 2013 12:13 PM
To: Jeff Cahill; Glen Lerner External
Subject: RE: Salary

Jeff,

I have what you listed below, but I also have you paying me $6,923.08 on 7/19.

Lionel H. Sutton, III
935 Gravier St., Ste. 1910
New Orleans, LA 70112
Office 504 592 3230
Cell 504 957 4689

> Date: Wed, 20 Feb 2013 18:19:57 -0600
> Subject: Re: Salary
> From: jcahill@glenlerner.com
> To: glenlerneresq@aol.com
> CC: Ihs3law@hotmail.com

> Below is what we have paid him since June.
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                                                                                                  Page 2 of 3



> Jeffrey Cahill
> Glen Lerner Injury Attorneys
> 651-983-4794

> Glen Lerner <glenlerneresq@aol.com> wrote:

> At $10k per month since June, we owe Tiger $90k total. So just see how much has been paid to him since
June.
                                                           Ar
> Sent from my iPhone

> On Feb 20, 2013, at 7:07 PM, "Jeff Cahill" icahill@glenlerner.com> wrote:

> Sorry Tiger - I didn't mean to ignore you.
>>
> I show salary/guaranteed payments to you as follows:
>>
> > 09/28/12 - $12,000
> > 10/02/12 - $9,000
> 11/15/2012 - $15,000
>>
> No withholding was done on these payments. On the partnership tax return, they will show as
guaranteed payments - a separate line item on the K-1.
>>>
> Jeffrey Cahill
> > Cell: 651-983-4794
> Office: 702-877-1500
>>>
>> >
> From: Sutton Lionel (mailto:ihs3law@hotmall.corn)
> Sent: Wednesday, February 20, 2013 2:53 PM
> To: Jeff Cahill; Glen Lerner External
> Subject: FW: Salary
>>
> > Jeff, I never redeye(' a response to the info requested
>>
> Tiger
> From: lhs3law@hotmall.com
> To: jcahill@glenlerner.com; glenlerneresq@aol.com
> Subject: Salary
> Date: Fri, 1 Feb 2013 09:52:09 -0600
>>
> Jeff,
>>
> In anticipation of signing the amended operating agreement, I need you to send me a printout of what
you show as salary payments to me since 6/1/12.
>>
> Thanks,
>>
> Lionel FL Sutton, III
> 935 Gravier St., Ste. 1910
> New Orleans, LA 70112
> Office 504 592 3230
> Cell 504 957 4689
>>>
>>
>>
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